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 7   [Additional Counsel Listed on Signature Page]

 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10
     L.P. et al.,                                          CASE NO. 4:20-cv-04960-KAW
11
                        Plaintiffs,                        STIPULATION OF DISMISSAL WITH
12                                                         PREJUDICE PURSUANT TO
     vs.                                                   FEDERAL RULE OF CIVIL
13                                                         PROCEDURE 41(a)(1)(A)(ii)
     Shutterfly, Inc.
14
                        Defendant.
15

16           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated by
17   Plaintiffs L.P., a minor, E.P., a minor, S.P., a minor, D.P., a minor, F.P., a minor, R.P., a minor,
18   and A.P., a minor, by and through their parent and legal guardian Esther Yona Posner; N.T., a
19   minor, by and through her parent and legal guardian Ilya Tsorin; C.D., a minor, by and through her
20   parent and legal guardian Katherine Delgado; V.M., a minor, by and through her legal guardian
21   Eunice Morris; A.S., a minor, Y.S., a minor, S.S., a minor, D.S., a minor, and M.S., a minor by and
22   through their legal guardian Dina Shallman (together, “Individual Plaintiffs”) and Defendant
23   Shutterfly, Inc. (“Shutterfly”) that the above-captioned action is dismissed. This dismissal shall be
24   with prejudice as to the Individual Plaintiffs and shall otherwise be without prejudice as to the
25   proposed class.
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28
            STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULE OF CIVIL
                                      PROCEDURE 41(a)(1)(A)(ii)
                                    CASE NO. 4:20-CV-04960-KAW
       Case 4:20-cv-04960-KAW Document 32 Filed 03/11/21 Page 2 of 2



 1          Each party shall bear its own attorneys’ fees, costs, and expenses, including but not limited

 2   to those provided for by Federal Rule of Civil Procedure 54.

 3    Dated: March 11, 2021                            MAYER BROWN LLP
 4

 5                                                     By: /s/ John Nadolenco
                                                          John Nadolenco
 6
                                                       Attorney for Defendant Shutterfly, Inc.
 7

 8

 9    Dated: March 11, 2021                            LABATON SUCHAROW LLP
10

11                                                     By: /s/ Jonathan Gardner
12                                                        Jonathan Gardner

13
                                                       WAGSTAFFE, VON LOEWENFELDT,
14                                                     BUSCH & RADWICK LLP

15

16                                                     By: /s/ James M. Wagstaffe
                                                          James M. Wagstaffe
17

18
                                                       Attorneys for Plaintiffs
19
20   ATTESTATION: Pursuant to Local Civil Rule 5-1(i)(3), the Filer attests that concurrence in the
     filing of this document has been obtained from all signatories.
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28
           STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULE OF CIVIL
                                     PROCEDURE 41(a)(1)(a)(ii)
                                   CASE NO. 4:20-CV-04960-KAW
